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                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON



UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NO. 2:05-00242-02

BRANDON E. PISTORE


           SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                     MEMORANDUM OPINION AND ORDER


            On August 21, 2014, the United States of America

appeared by Meredith George Thomas, Assistant United States

Attorney, and the defendant, Brandon E. Pistore, appeared in

person and by his counsel, Rhett H. Johnson, Assistant Federal

Public Defender, for a hearing on the petition on supervised

release submitted by United States Probation Officer Greg

Swisher.    The defendant commenced a three-year term of

supervised release in this action on November 22, 2013, as more

fully set forth in the Supervised Release Revocation and

Judgment Order entered by the court on March 21, 2013.


            The court heard the admissions of the defendant and

the representations and argument of counsel.
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           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) the defendant

used and possessed methamphetamine as evidenced by his arrest on

March 31, 2014, at which time he was charged with possession of

methamphetamine after a hit and run accident and methamphetamine

was found in his vehicle; his admissions to the probation

officer that he had used methamphetamine on January 22, 2014,

and February 18, 2014; his admission to the staff at SECOR on

June 13, 2014, that he had used methamphetamine and his

subsequent positive urine screen; and his signing of a voluntary

admission form on June 16, 2014, indicating that he had used

methamphetamine on June 13 and 14, 2014; (2) the defendant

failed to pay restitution as directed by the court at the rate

of $100 per month inasmuch as he has only paid $175 while on

supervised release; and (3) the defendant failed to abide by the

special condition that he spend a period of six months in a

community confinement center inasmuch as he entered the program

at SECOR on June 13, 2014, and upon arrival disclosed to the

staff that he “just shot up one gram of meth early today” at

which time the facility deemed him unacceptable for admission
                                2
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into the program; all as admitted by the defendant on the record

of the hearing as set forth in the petition on supervised

release.


           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate

the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously

imposed upon the defendant in this action be, and it hereby is,

revoked.


           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal

Procedure, and finding, after considering the factors set forth

in 18 U.S.C. § 3583(e), that the defendant should be confined to

the extent set forth below, it is accordingly ORDERED that the

defendant be, and he hereby is, committed to the custody of the

United States Bureau of Prisons for imprisonment for a period of

TWELVE MONTHS AND ONE DAY.


           The defendant was remanded to the custody of the

United States Marshal.

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           The Clerk is directed to forward copies of this

written opinion and order to the defendant, all counsel of

record, the United States Probation Department, and the United

States Marshal.


                                         DATED:       September 15, 2014


                                          John T. Copenhaver, Jr.
                                          United States District Judge




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